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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                            CRIMINAL ACTION NO. 2:04CR178-P-A

STEPHANIE ANN ROMINE,                                                        DEFENDANT.

                                         CONTINUANCE

       This matter comes before the court upon Defendant Stephanie Romine’s Motion to Continue

[57-1]. Upon due consideration of the motion the court finds as follows, to-wit:

       Trial for this matter is currently set for September 26, 2005. Defense counsel avers that he

has been recently instructed by the Fifth Circuit Court of Appeals that he has an oral argument set

for the week of September 26, 2005 in the case of U.S. v. McCrimmon. Accordingly, he asks for a

continuance of this trial

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from September 26, 2005 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to defend

his client As such, the ends of justice served by the granting of this continuance outweigh the best

interests of the public and the defendant in a speedy trial.

       IT IS THEREFORE ORDERED AND ADJUDGED that:

       (1) Defendant Stephanie Romine’s Motion to Continue [57-1] is hereby GRANTED;

       (2) Trial as to all of the defendants in this matter is continued until Monday, November 7,

       2005 at 9:00 a.m. in the United States Courthouse in Greenville, Mississippi;


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      (3) The delay from September 26, 2005 to November 7, 2005 is excluded as set out above;

      (4) The deadline for filing pretrial motions is October 17, 2005; and

      (5) The deadline for submitting a plea agreement is October 24, 2005.

SO ORDERED, this 19th day of August, A.D., 2005.


                                                   /s/ W. Allen Pepper, Jr.
                                                   W. ALLEN PEPPER, JR.
                                                   UNITED STATES DISTRICT JUDGE




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